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                   SC NAACP v. Alexander,
       D.S.C. Case No. 3:21-cv-03302-MGL-TJH-RMG




                   EXHIBIT 4
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                                                                        Page 1

 1
 2      IN THE UNITED STATES DISTRICT COURT
        FOR THE DISTRICT OF SOUTH CAROLINA
 3      COLUMBIA DIVISION
        -------------------------------------x
 4      THE SOUTH CAROLINA STATE
        CONFERENCE OF THE NAACP
 5
                       and
 6
        TAIWAN SCOTT, ON BEHALF OF HIMSELF             Case No.
 7      AND ALL OTHER SIMILARLY SITUATED               3:21-CV-03302
        PERSONS,                                       JMC-TJH-RMG
 8
                               Plaintiffs,
 9
                       Vs.
10
        THOMAS C. ALEXANDER, IN HIS OFFICIAL
11      CAPACITY AS PRESIDENT OF THE SENATE;
        LUKE A. RANKIN, IN HIS OFFICIAL CAPACITY
12      AS CHAIRMAN OF THE SENATE JUDICIARY
        COMMITTEE; MURRELL SMITH, IN HIS OFFICIAL
13      CAPACITY AS SPEAKER OF THE HOUSE OF
        REPRESENTATIVES; CHRIS MURPHY, IN HIS
14      OFFICIAL CAPACITY AS CHAIRMAN OF THE
        HOUSE OF REPRESENTATIVES JUDICIARY
15      COMMITTEE; WALLACE H. JORDAN, IN HIS
        OFFICIAL CAPACITY AS CHAIRMAN OF THE HOUSE
16      OF REPRESENTATIVES ELECTIONS LAW
        SUBCOMMITTEE; HOWARD KNAPP, IN HIS
17      OFFICIAL CAPACITY AS INTERIM EXECUTIVE
        DIRECTOR OF THE SOUTH CAROLINA STATE
18      ELECTION COMMISSION; JOHN WELLS, JOANNE
        DAY, CLIFFORD J. EDLER, LINDA MCCALL,
19      AND SCOTT MOSELEY, IN THEIR OFFICIAL
        CAPACITIES AS MEMBERS OF THE SOUTH
20      CAROLINA STATE ELECTION COMMISSION,
21                                Defendants.
        ----------------------------------------x
22
           STENOGRAPHIC REMOTE VIRTUAL DEPOSITION
23                     CHARLES TERRENI
                  Tuesday, August 16, 2022
24
25

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                                                Page 18                                               Page 20
     1              TERRENI                                1              TERRENI
     2       A. It was a lawsuit brought                   2   should not be diminished in a
     3   under the South Carolina, I believe               3   redistricting plan absent
     4   it's called the State Accommodations              4   unavoidable circumstances such as
     5   Act against a restaurant that                     5   inward migration or something of
     6   discriminated against my clients for              6   that sort.
     7   refusing them service.                            7       There was an intent component
     8       Q. What about a Voting Rights                 8   in Section 5 as I recall. And then
     9   Act claim, have you ever brought or               9   as a practical matter it required
    10   defended against one of those?                   10   either getting preclearance from the
    11       A. Yes, ma'am.                               11   Justice Department and persuading
    12       Q. In what context?                          12   them that a plan was
    13       A. Well, there have been a                   13   nonretrogressive or retrogressive
    14   few. Would you like me to try to go              14   depending on what side I was on.
    15   through them or...                               15   And also -- or in the alternative
    16       Q. Yes, please, briefly. What                16   obtaining a declaratory judgment
    17   body was at issue?                               17   from the D.C. Circuit.
    18       A. They were primarily Section               18      Q. Under Section 5 could a
    19   5 claims. I litigated a Section 5                19   jurisdiction go from having three
    20   claim on behalf of the Richland                  20   majority-minority districts to two,
    21   County Republican Party in the '90s              21   for example?
    22   involving the need to preclear                   22      A. It could.
    23   changes in a redistricting plan. I               23      Q. It could under what
    24   was the plaintiff.                               24   circumstances?
    25        I defended the State                        25      A. A plethora of
                                                Page 19                                               Page 21
     1             TERRENI                                 1             TERRENI
     2   Republican Party in an action that                2   circumstances, but one would be that
     3   was brought trying to compel                      3   the population wouldn't be there to
     4   preclearance of the state                         4   support three minority districts
     5   presidential primary in 2000, which               5   anymore.
     6   was a volunteer primary.                          6      Q. Did it require looking at
     7       I brought a Section 5 claim I                 7   voting patterns to see whether or
     8   believe against Allendale County                  8   not there was racial bloc voting in
     9   several years ago involving                       9   a jurisdiction?
    10   Allendale, one of the Allendale                  10      A. It could.
    11   County local governments and that                11      Q. Are you familiar with
    12   was also a preclearance issue and an             12   racial bloc voting?
    13   equal protection issue.                          13      A. To some extent, yes.
    14       That's what I remember off the               14      Q. What do you understand it
    15   top of my head.                                  15   to mean?
    16     Q. You mentioned Section 5.                    16      A. I mean racial bloc voting
    17   What is your understanding of what               17   if you are referring to the Gingles
    18   Section 5 required?                              18   preconditions it would entail a
    19     A. Retrogression.                              19   situation in which the minority
    20     Q. What does retrogression                     20   community is sufficiently compact to
    21   mean to you?                                     21   form the majority district, that the
    22     A. Well, what retrogression                    22   minority community is politically
    23   meant to me was -- well, it was                  23   cohesive and tends to attempt to
    24   twofold. It was one that the                     24   vote candidates of its choice. Then
    25   existing rights of minority voters               25   if you have racially polarized
                                                                                          6 (Pages 18 - 21)
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                                                Page 22                                               Page 24
     1              TERRENI                                1              TERRENI
     2   voting, you would have the majority               2   know, I don't know the particulars
     3   community consistently frustrating                3   of it, but to force coverage of
     4   the efforts of the minority                       4   Section 5 for a particular
     5   committee to elect candidates of its              5   jurisdiction.
     6   choice.                                           6      Q. Have you ever brought or
     7      Q. While you were defending or                 7   defended against a Section 2 action
     8   while you were working on Section 5               8   under the Voting Rights Act?
     9   actions was it also possible for --               9      A. Bear with me, I haven't
    10   are you aware whether it was                     10   practiced law in a while.
    11   possible for a jurisdiction to                   11        I have never brought a Section
    12   receive preclearance under Section 5             12   2 action. It is possible that
    13   and still face a lawsuit on the                  13   Section 2 was raised as a cause of
    14   other side of that preclearance                  14   action in some of the litigation in
    15   under some other constitutional or               15   which I have been involved.
    16   statutory framework?                             16      Q. Have you ever represented a
    17      A. I'm aware that it was.                     17   minority individual plaintiff or a
    18      Q. Are you aware that the                     18   group that served minority voters in
    19   constitutional and statutory                     19   a Section 5 or other voting type
    20   framework still exists today that                20   challenge or case?
    21   existed when Section 5 was in                    21      A. That's a broad statement.
    22   operation?                                       22   I mean if you are talking about a
    23      A. I'm aware that -- yes.                     23   named plaintiff, to the best of my
    24   Generally speaking. I mean I                     24   recollection, no. There would have
    25   haven't wanted to do a history                   25   been -- there may have been minority
                                                Page 23                                               Page 25
     1              TERRENI                                1             TERRENI
     2   lesson here because I'm not capable               2   members involved in the entities
     3   of it, but I'm generally aware that               3   that I represented.
     4   you can still sue someone over a                  4      Q. Have you ever represented
     5   redistricting plan under Section 2                5   -- you mentioned having represented
     6   or the 14th Amendment or whatever                 6   Republican organizations in some
     7   causes of action existed before                   7   Section 5 proceedings. Have you
     8   Section 5 no longer was in effect.                8   ever represented a
     9      Q. No longer is in?                            9   Democratic-affiliated organization
    10      A. Effect.                                    10   in a Section 5 proceeding?
    11      Q. Section 5 is still                         11      A. No.
    12   constitutional, it just doesn't                  12      Q. Would you consider the
    13   function anymore, is that your                   13   Voting Rights Act a race-conscious
    14   understanding?                                   14   statute?
    15      A. My understanding is until                  15      A. I don't understand the
    16   such time as Congress were to update             16   question.
    17   the coverage formula Section 5                   17      Q. Would you consider the
    18   cannot be implemented.                           18   Voting Rights Act to be a statute
    19      Q. Do you know anything about                 19   that requires awareness of race?
    20   the bail-in requirement under                    20      A. Not universally. I mean it
    21   Section 3C under the Voting Rights               21   is certainly a statute that is
    22   Act? Are you familiar with that?                 22   designed to protect the rights of
    23      A. I'm generally aware that                   23   racial minorities under certain
    24   plaintiffs can sue a jurisdiction                24   circumstances but it doesn't mean
    25   for discriminatory practices. You                25   that you need universal awareness of
                                                                                         7 (Pages 22 - 25)
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                                                Page 186                                               Page 188
     1               TERRENI                                1              TERRENI
     2   just fiduciary, is that your                       2      Q. Could it include the
     3   understanding?                                     3   packing of black voters?
     4       A. Yes.                                        4      A. It could as the term is
     5       Q. Under Roman numeral I-B                     5   used in the case law.
     6   still in the federal law section                   6      Q. Could it include both the
     7   it's titled Voting Rights. Could                   7   packing and cracking of black
     8   you take a moment to read that                     8   voters?
     9   sentence.                                          9      A. Yes.
    10       A. "A redistricting plan for                  10      Q. I believe you mentioned the
    11   the general assembly or Congress                  11   three Gingles preconditions. Are
    12   must not have either the purpose or               12   the three Gingles preconditions that
    13   the effect of diluting minority                   13   you mentioned what you would
    14   voting strength and must otherwise                14   consider to be the test for whether
    15   comply with Section 2 of the Voting               15   there's dilution of minority voting
    16   Rights Act, as expressed in                       16   strength?
    17   Thornburg versus Gingles and its                  17      A. It would be one test.
    18   progeny, and the 14th and 15th                    18      Q. What is the other or what
    19   amendments to the U.S.                            19   is another?
    20   Constitution."                                    20      A. Well, racial gerrymandering
    21       Q. What did understand the                    21   could, I don't suppose it
    22   diluting a minority voting strength               22   necessarily has to, but could result
    23   mean?                                             23   in the dilution of minority voting
    24       A. Generally speaking it means                24   strength. It could result in the
    25   the diluting of -- the effective                  25   enhancement of the minority voting
                                                Page 187                                               Page 189
     1              TERRENI                                 1              TERRENI
     2   reduction of a minority community's                2   strength as well, but that would be
     3   ability to exercise its electoral                  3   another way of doing it.
     4   franchise either through Section 2                 4      Q. I believe you mentioned
     5   by electing a representative of its                5   earlier that racial gerrymandering
     6   choice or through the ability to                   6   can be demonstrated through direct
     7   elect or an opportunity to elect a                 7   evidence of dilution, is that your
     8   representative of its choice                       8   understanding?
     9   regarding the three Thornburg versus               9      A. I may have said that, but I
    10   Gingles preconditions are met and,                10   need to -- I mean the central
    11   three, the avoidance of intentional               11   question of racial gerrymandering
    12   or predominantly race based                       12   would be whether race was a
    13   redistricting under the 14th                      13   predominant factor in the
    14   amendment as shown in subsequent                  14   redistricting process and whether or
    15   case law.                                         15   not if it was the predominant factor
    16      Q. In South Carolina would                     16   in redistricting process whether it
    17   minorities include black voters?                  17   was the predominant factor in order
    18      A. Yes.                                        18   to serve a compelling state
    19      Q. Would an example of                         19   interest.
    20   dilution of racial or ethnic                      20      Q. And what do you understand
    21   minority voting strength include the              21   to be compelling state interest?
    22   cracking of black voters?                         22      A. Under some circumstances
    23      A. It's a legal term but yes,                  23   compliance of Section 2 could be a
    24   it could. It could as the term is                 24   compelling state interest.
    25   used in the case law.                             25   Compliance of Section 2 does not
                                                                                       48 (Pages 186 - 189)
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                                                Page 190                                               Page 192
     1              TERRENI                                 1              TERRENI
     2   always have to be. I assume you can                2   Chairman Rankin instructed Senate
     3   comply with Section 2 without having               3   staff not to consider race during
     4   to consider race as the predominant                4   congressional redistricting?
     5   factor but it could be.                            5      A. I don't recall him doing
     6      Q. What about remedying                         6   that.
     7   historical discrimination, has that                7      Q. Is that something you would
     8   been recognized as a compelling                    8   recall?
     9   state interest?                                    9      A. Probably.
    10      A. It may have been recognized                 10      Q. Because it's important
    11   as a compelling state interest but                11   whether or not the Senate could
    12   in the current redistricting                      12   consider race or not in drawing
    13   framework, as I understand it,                    13   redistricting lines?
    14   unless it's expressed through the                 14      A. No. It's just because it
    15   Voting Rights Act it wouldn't in and              15   would have been a specific
    16   of itself be -- I don't know there                16   instruction from Senator Rankin. I
    17   would be a compelling state interest              17   mean when you say considering race,
    18   for using race as the predominant                 18   if you are asking did Senate staff
    19   factor in redistricting. I never                  19   look at the racial impact of various
    20   really had to encounter that.                     20   draws or the racial composition in
    21      Q. If staff was instructed not                 21   districts under various draws, the
    22   to consider race during                           22   answer is yes. Was it the
    23   congressional redistricting, who                  23   predominant factor in guiding
    24   would have made that decision on                  24   redistrict -- proposed redistricting
    25   behalf of the Senate?                             25   fans, no, and was it a predominant
                                                Page 191                                               Page 193
     1              TERRENI                                 1             TERRENI
     2        MR. GORE: Again, I'm just                     2   factor for the subcommittee, I don't
     3    going to object to the extent this                3   believe it was.
     4    calls for attorney-client                         4      Q. Who would have made the
     5    communications. And the witness                   5   determination of whether or not race
     6    can answer to the extent he can do                6   was the predominant factor in
     7    so without divulging confidential                 7   redrawing the congressional map?
     8    or privileged information.                        8      A. The courts.
     9       A. Well, the question is if                    9      Q. So that decision, that
    10   staff were considered -- were                     10   analysis of whether race was the
    11   instructed not to consider race in                11   predominant factor in the redrawing
    12   redistricting who would have                      12   of South Carolina's congressional
    13   instructed staff in that fashion, is              13   map, that has not been determined
    14   that -- did I restate your question               14   yet because litigation is ongoing?
    15   fairly?                                           15      A. I mean that's the way I see
    16       Q. Yes.                                       16   it. If you are asking whether or
    17       A. Well, I don't think anybody                17   not we consider race as the
    18   could have instructed staff in that               18   predominant factor, the answer is
    19   regard better than the chairman or                19   no.
    20   the subcommittee and the vote if                  20      Q. Because that's a factual
    21   that guidance was given. However,                 21   question because there hasn't been a
    22   if that guidance were given, it                   22   legal determination yet?
    23   would have been given by counsel,                 23      A. Well, I suppose so. I mean
    24   me, Mr. Gore, Mr. Fiffick.                        24   obviously we don't think it was.
    25       Q. Are you aware whether                      25   You seem to think that it was the
                                                                                       49 (Pages 190 - 193)
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